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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 DONALD J. TRUMP FOR                           :
 PRESIDENT, INC., et al.,                      :
                                               : Civil Action No.: 2:20-cv-966-NR
                       Plaintiffs,             :
                                               :
        v.                                     :
                                               :
 KATHY BOOCKVAR, et al.,                       :
                                               :
                       Defendants.             :

                         NOTICE OF ENTRY OF APPEARANCE

       Kindly enter the appearance of Steven B. Silverman, Esquire and Babst, Calland, Clements

and Zomnir, P.C. as counsel for Defendants, Bedford County Board of Elections, Blair County

Board of Elections, Columbia County Board of Elections, Dauphin County Board of Elections,

Fayette County Board of Elections, Indiana County Board of Elections, Lackawanna County

Board of Elections, Mercer County Board of Elections, Northumberland County Board of

Elections, and Union County Board of Elections, in the above-captioned action.

                                                   Respectfully submitted,

                                                   BABST, CALLAND, CLEMENTS
                                                   and ZOMNIR, P.C.

 Date: July 13, 2020                               /s/ Steven B. Silverman
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                                                   Counsel for Defendants, Bedford County
                                                   Board of Elections, Blair County Board of
                                                   Elections, Columbia County Board of
                                                   Elections, Dauphin County Board of
                                                   Elections, Fayette County Board of Elections,
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                                 Indiana County Board of Elections,
                                 Lackawanna County Board of Elections,
                                 Mercer County Board of Elections,
                                 Northumberland County Board of Elections,
                                 and Union County Board of Elections

                                 Also counsel for Centre County Board of
                                 Elections (appearance previously entered)
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Entry of

Appearance was filed electronically and served via the Court’s CM/ECF system, pursuant to the

Federal Rules of Civil Procedure.




                                                  /s/ Steven B. Silverman
